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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

 Case No. CV-19-1946- JAK (KSx)                                             Date: November 2, 2021
 Title       Notorious B.I.G. LLC. v. S. Modu et al..




 Present: The Honorable:      KAREN L. STEVENSON, United States Magistrate Judge


                  G. Roberson                                               N/A
                  Deputy Clerk                                    Court Reporter / Recorder

         Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:


 Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE RE: FAILURE TO
 FILE OPPOSITION TO FEE MOTION (DKT NO. 139)

         Pending before the Court is Plaintiff’s Motion for Fees In the Amount of
  $50,577.00 From Defendant Chi Modu in Connection with Docket Entry 138 (“Fee
  Motion”). (Dkt. No. 139.) The Fee Motion was filed on May 10, 2021. (Id.) Defendant
  and Counter Claimant Chi Modu (“Defendant”) did not file an opposition to the Fee
  Motion. On August 18, 2021, Plaintiff filed a Notice of Non-Opposition to Motion for
  Sanctions as to Chi Modu. (Dkt. No. 124.) On August 23, 2021, attorneys for Sophia
  A. Modu (“S. Modu”) filed a Statement of Death of Defendant and Counter Claimant
  Chu Modu and Notice of Putative Successor and/or Representative, indicating that Chi
  Modu passed away on May 19, 2021. (Dkt. No. 149.) On September 30, 2021,
  presiding district judge, the Honorable John A. Kronstadt, determined that the hearing
  on the Fee Motion was unnecessary and took the Motion under submission. (Dkt. No.
  155.) On October 1, 2021, the Court referred Plaintiff’s Fee Motion to the undersigned
  U.S. Magistrate Judge for a Report and Recommendation. (Dkt. No. 156.) The
  Magistrate Judge has scheduled a status conference for November 10, 2021 at 1:00 p.m.
  (Dkt. No. 167.)

        On October 18, 2021, Judge Kronstadt granted Plaintiff’s Motion to Substitute
  Sophia A. Modu as Defendant and granted S. Modu’s request for leave to file an
  opposition to the pending Fee Motion. (Dkt. No. 164.) More than two weeks have


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  passed since Judge Kronstadt’s October 18, 2021 Order and no opposition to the Fee
  Motion has been filed nor any request for an extension of time to file an opposition.

         Accordingly, Defendant and Counter Claimant S. Modu is ORDERED to
  SHOW no later than November 9, 2021 why the Fee Motion should not be deemed
  unopposed. Defendant S. Modu may discharge this order by filing before the November
  9, 2021 deadline either:

         (1) an Opposition to the Fee Motion that complies with applicable Federal and
             Local Rules; or
         (2) a request for an extension of time to serve the Opposition along with a sworn
             declaration showing good cause for Defendant’s failure to timely file the
             Opposition.

        Defendant’s failure to timely comply with this Order may result in the Court
  recommending that the Fee Motion be deemed unopposed and ready for decision
  without opposition.

         IT IS SO ORDERED.
                                                                                               :
                                                                 Initials of Preparer   gr




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